             Case 05-60007-NLW                            Doc 16         Filed 12/01/05 Entered 12/01/05 22:34:46                                            Desc Main
                                                                        Document     Page 1 of 47
(Official Form 1) (10/05)
                                         United States Bankruptcy Court
                                                       District of New Jersey                                                                        Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
  Esposito, Joseph C.                                                                               Esposito, Lauraine


All Other Names used by the Debtor in the last 8 years                                            All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                       (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-2629                                                                                       xxx-xx-1179
Street Address of Debtor (No. & Street, City, and State):                                         Street Address of Joint Debtor (No. & Street, City, and State):
  102 Garside Avenue                                                                                 102 Garside Avenue
  Wayne, NJ                                                                                          Wayne, NJ
                                                                                  ZIP Code                                                                                  ZIP Code
                                                                              07470                                                                                      07470
County of Residence or of the Principal Place of Business:                                        County of Residence or of the Principal Place of Business:
  Passaic                                                                                           Passaic
Mailing Address of Debtor (if different from street address):                                     Mailing Address of Joint Debtor (if different from street address):


                                                                                  ZIP Code                                                                                  ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


Type of Debtor (Form of Organization)                        Nature of Business                                         Chapter of Bankruptcy Code Under Which
               (Check one box)                            (Check all applicable boxes.)                                    the Petition is Filed (Check one box)
    Individual (includes Joint Debtors)               Health Care Business
                                                                                                      Chapter 7             Chapter 11            Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                Single Asset Real Estate as defined                                                         of a Foreign Main Proceeding
                                                      in 11 U.S.C. § 101 (51B)
    Partnership                                                                                       Chapter 9             Chapter 12            Chapter 15 Petition for Recognition
                                                      Railroad                                                                                    of a Foreign Nonmain Proceeding
    Other (If debtor is not one of the above
    entities, check this box and provide the          Stockbroker                                                   Chapter 13
    information requested below.)                     Commodity Broker
    State type of entity:
                                                      Clearing Bank                                                          Nature of Debts (Check one box)
                                                      Nonprofit Organization qualified
                                                      under 15 U.S.C. § 501(c)(3)                     Consumer/Non-Business                       Business

                               Filing Fee (Check one box)                                                                       Chapter 11 Debtors
    Full Filing Fee attached                                                                      Check one box:
                                                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must
    attach signed application for the court's consideration certifying that the debtor                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.
                                                                                                  Check if:
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Official Form 3B.                   Debtor's aggregate noncontingent liquidated debts owed to non-insiders
                                                                                                     or affiliates are less than $2 million.
Statistical/Administrative Information                                                                                                            THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
    available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-          200-      1000-        5001-       10,001-      25,001-        50,001-     OVER
        49           99          199           999       5,000       10,000       25,000       50,000         100,000    100,000



Estimated Assets
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million



Estimated Debts
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million
           Case 05-60007-NLW                  Doc 16        Filed 12/01/05 Entered 12/01/05 22:34:46                                          Desc Main
                                                           Document     Page 2 of 47
(Official Form 1) (10/05)                                                                                                               FORM B1, Page 2
                                                                                Name of Debtor(s):
Voluntary Petition                                                                Esposito, Joseph C.
(This page must be completed and filed in every case)                             Esposito, Lauraine
                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
Location                                                               Case Number:                          Date Filed:
Where Filed: - None -
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                           Relationship:                         Judge:

                                  Exhibit A                                                                              Exhibit B
                                                                                  (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,          I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                  have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934          12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                     under each such chapter.
                                                                                  I further certify that I delivered to the debtor the notice required by §342(b) of
                                                                                  the Bankruptcy Code.
      Exhibit A is attached and made a part of this petition.
                                                                                  X
                                                                                      Signature of Attorney for Debtor(s)                    Date

                                  Exhibit C                                                        Certification Concerning Debt Counseling
                                                                                                          by Individual/Joint Debtor(s)
  Does the debtor own or have possession of any property that poses or
  is alleged to pose a threat of imminent and identifiable harm to public             I/we have received approved budget and credit counseling during
  health or safety?                                                                   the 180-day period preceding the filing of this petition.

      Yes, and Exhibit C is attached and made a part of this petition.                I/we request a waiver of the requirement to obtain budget and
                                                                                      credit counseling prior to filing based on exigent circumstances.
      No                                                                              (Must attach certification describing.)

                                         Information Regarding the Debtor (Check the Applicable Boxes)

                                                           Venue (Check any applicable box)

                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                 days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                 this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                 proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                 sought in this District.


                                     Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                           Check all applicable boxes.

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                  (Name of landlord that obtained judgment)




                                  (Address of landlord)


                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                 after the filing of the petition.
            Case 05-60007-NLW                  Doc 16       Filed 12/01/05 Entered 12/01/05 22:34:46                                       Desc Main
                                                           Document     Page 3 of 47
(Official Form 1) (10/05)                                                                                                           FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                   Esposito, Joseph C.
(This page must be completed and filed in every case)                                Esposito, Lauraine
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by §1515 of title 11 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to §1511 of title 11, United States Code, I request relief in accor-
     [If no attorney represents me and no bankruptcy petition preparer                 dance with the chapter of title 11 specified in this petition. A certified copy
     signs the petition] I have obtained and read the notice required by               of the order granting recognition of the foreign main proceeding is attached.
     §342(b) of the Bankruptcy Code.
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Joseph C. Esposito                                                          Printed Name of Foreign Representative
     Signature of Debtor Joseph C. Esposito
                                                                                      Date
 X    /s/ Lauraine Esposito
     Signature of Joint Debtor Lauraine Esposito                                         Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     December 1, 2005                                                                 copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ Thomas E. Shields III                                                       amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Thomas E. Shields III TS-2505
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Thomas E. Shields III
     Firm Name
      755 Berdan Ave                                                                  Social Security number (If the bankrutpcy petition preparer is not
      Wayne, NJ 07470-2028                                                            an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address

                                      Email: tshie31860@aol.com
      973-694-7100
     Telephone Number
                                                                                      Address
     December 1, 2005
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose social security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                        Desc Main
                                                                             Document     Page 4 of 47
Form 6-Summary
(10/05)


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                                                                   United States Bankruptcy Court
                                                                                 District of New Jersey
  In re          Joseph C. Esposito,                                                                                   Case No.     05-60007-NLW
                 Lauraine Esposito
                                                                                                             ,
                                                                                             Debtors                   Chapter                      13




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities."

                                                                                                                    AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                       ASSETS                 LIABILITIES                OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1                475,000.00


B - Personal Property                                              Yes                3                 33,200.00


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                1                                          669,511.00
      Claims
E - Creditors Holding Unsecured                                    Yes                1                                                0.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                3                                           15,783.00
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                      7,775.00
      Debtor(s)
J - Current Expenditures of                                        Yes                1                                                                      7,178.00
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            14


                                                                              Total Assets             508,200.00


                                                                                                Total Liabilities                685,294.00




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               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                       Desc Main
                                                                             Document     Page 5 of 47
Form 6-Summ2
(10/05)




                                                                   United States Bankruptcy Court
                                                                                 District of New Jersey
  In re          Joseph C. Esposito,                                                                                        Case No.   05-60007-NLW
                 Lauraine Esposito
                                                                                                                 ,
                                                                                              Debtors                       Chapter                    13




                         STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                          [Individual Debtors Only]
          Summarize the following types of liabilities, as reported in the Schedules, and total them.



            Type of Liability                                                                           Amount

            Domestic Support Obligations (from Schedule E)                                                           0.00

            Taxes and Certain Other Debts Owed to Governmental Units
            (from Schedule E)                                                                                        0.00

            Claims for Death or Personal Injury While Debtor Was Intoxicated
            (from Schedule E)                                                                                        0.00

            Student Loan Obligations (from Schedule F)                                                               0.00

            Domestic Support, Separation Agreement, and Divorce Decree
            Obligations Not Reported on Schedule E                                                                   0.00

            Obligations to Pension or Profit-Sharing, and Other Similar Obligations
            (from Schedule F)                                                                                        0.00

                                                                                      TOTAL                          0.00



          The foregoing information is for statistical purposes only under 28 U.S.C § 159.




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               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                         Desc Main
                                                                             Document     Page 6 of 47
Form B6A
(10/05)


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  In re          Joseph C. Esposito,                                                                                        Case No.    05-60007-NLW
                 Lauraine Esposito
                                                                                                                ,
                                                                                                Debtors
                                                                  SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                              Husband,     Current Value of
                                                                                      Nature of Debtor's       Wife,      Debtor's Interest in            Amount of
                 Description and Location of Property                                 Interest in Property                 Property, without
                                                                                                               Joint, or Deducting                       Secured Claim
                                                                                                             Community             any Secured
                                                                                                                          Claim or Exemption

Location: 102 Garside Avenue, Wayne NJ                                                Tenants by the entirety       J                  475,000.00               669,511.00




                                                                                                                Sub-Total >            475,000.00       (Total of this page)

                                                                                                                        Total >        475,000.00
  0      continuation sheets attached to the Schedule of Real Property                                          (Report also on Summary of Schedules)
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               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                                 Desc Main
                                                                             Document     Page 7 of 47
Form B6B
(10/05)


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  In re          Joseph C. Esposito,                                                                                          Case No.       05-60007-NLW
                 Lauraine Esposito
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.     Cash on hand                                           X

2.     Checking, savings or other financial                       Checking account                                                       J                        1,200.00
       accounts, certificates of deposit, or                      Commerce Bank
       shares in banks, savings and loan,                         Wayne, NJ
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                          X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                           Appliances, furniture                                                  J                        1,500.00
       including audio, video, and                                Location: 102 Garside Avenue, Wayne NJ
       computer equipment.

5.     Books, pictures and other art                          X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                       X

7.     Furs and jewelry.                                      X

8.     Firearms and sports, photographic,                     X
       and other hobby equipment.

9.     Interests in insurance policies.                       X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                          X
    issuer.




                                                                                                                                         Sub-Total >            2,700.00
                                                                                                                             (Total of this page)

  2      continuation sheets attached to the Schedule of Personal Property

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               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                                 Desc Main
                                                                             Document     Page 8 of 47
Form B6B
(10/05)




  In re          Joseph C. Esposito,                                                                                          Case No.       05-60007-NLW
                 Lauraine Esposito
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                          X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                            Reitred Policeman's Pension                                            H                              0.00
    other pension or profit sharing                               $4000. per month
    plans. Give particulars.

13. Stock and interests in incorporated                           Ashley NMJ Construction Co.                                            J                        5,000.00
    and unincorporated businesses.                                tools, equipment
    Itemize.

14. Interests in partnerships or joint                        X
    ventures. Itemize.

15. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                          Construction work done to home in Montclair, NJ.                       H                      18,500.00
                                                                  Developer refuses to pay and collection seems
                                                                  remote.

17. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                         Sub-Total >          23,500.00
                                                                                                                             (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                                  Desc Main
                                                                             Document     Page 9 of 47
Form B6B
(10/05)




  In re          Joseph C. Esposito,                                                                                          Case No.        05-60007-NLW
                 Lauraine Esposito
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

21. Other contingent and unliquidated                         X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                            X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                      X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                            1997 Expedition                                                         J                        7,000.00
    other vehicles and accessories.                               Location: 102 Garside Avenue, Wayne NJ

26. Boats, motors, and accessories.                           X

27. Aircraft and accessories.                                 X

28. Office equipment, furnishings, and                        X
    supplies.

29. Machinery, fixtures, equipment, and                       X
    supplies used in business.

30. Inventory.                                                X

31. Animals.                                                  X

32. Crops - growing or harvested. Give                        X
    particulars.

33. Farming equipment and                                     X
    implements.

34. Farm supplies, chemicals, and feed.                       X

35. Other personal property of any kind                       X
    not already listed. Itemize.


                                                                                                                                         Sub-Total >             7,000.00
                                                                                                                             (Total of this page)
                                                                                                                                              Total >          33,200.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
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                Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                           Desc Main
                                                                             Document      Page 10 of 47
 Form B6C
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   In re          Joseph C. Esposito,                                                                                     Case No.      05-60007-NLW
                  Lauraine Esposito
                                                                                                                 ,
                                                                                                Debtors
                                                SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $125,000.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                   Value of            Current Value of
                    Description of Property                                                Each Exemption                       Claimed             Property Without
                                                                                                                               Exemption          Deducting Exemption
Real Property
Location: 102 Garside Avenue, Wayne NJ                                            11 U.S.C. § 522(d)(1)                                    0.00             475,000.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking account                                  11 U.S.C. § 522(d)(5)                                                                100.00                  1,200.00
Commerce Bank
Wayne, NJ

Household Goods and Furnishings
Appliances, furniture                                                             11 U.S.C. § 522(d)(3)                              1,500.00                  1,500.00
Location: 102 Garside Avenue, Wayne NJ

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Reitred Policeman's Pension                         11 U.S.C. § 522(d)(10)(E)                                                              0.00                      0.00
$4000. per month

Stock and Interests in Businesses
Ashley NMJ Construction Co.                                                       11 U.S.C. § 522(d)(6) also Section                 3,500.00                  5,000.00
tools, equipment                                                                  522 d 1

Accounts Receivable
Construction work done to home in Montclair,                                      11 U.S.C. § 522(d)(5)                             18,500.00                18,500.00
NJ.                              Developer
refuses to pay and collection seems remote.

Automobiles, Trucks, Trailers, and Other Vehicles
1997 Expedition                                                                   11 U.S.C. § 522(d)(2) also 522 d 1                 5,550.00                  7,000.00
Location: 102 Garside Avenue, Wayne NJ




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                              Desc Main
                                                                             Document      Page 11 of 47
 Form B6D
 (10/05)


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   In re          Joseph C. Esposito,                                                                                             Case No.    05-60007-NLW
                  Lauraine Esposito
                                                                                                                     ,
                                                                                                      Debtors
                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
      List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose
 the child's name. See 11 U.S.C§112; Fed.R.Bankr.P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
 marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
 claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If
 the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                 C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                    O                                                            O    N   I
                                                                 D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                                  B   W               NATURE OF LIEN, AND                      I    Q   U                       PORTION, IF
                                                                 T   J              DESCRIPTION AND VALUE                     N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                    O                                                            G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                     C                   OF PROPERTY
                                                                 R
                                                                                        SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. 0015-1465-33                                                 2001                                                      E
                                                                                                                                   D

Champion Mortgage                                                        first mortgage
c/o Fein, Such, Kahn & Shepard, PC
7 Century Drive , Ste 201
                                                                     J Location: 102 Garside Avenue, Wayne
Parsippany, NJ 07054                                                   NJ
                                                                          Value $                           475,000.00                         443,692.00                    0.00
Account No. -                                                            2003

Columbia Bank                                                            second morgage
19-01 Route 208
Fair Lawn, NJ 07410
                                                                X J Location: 102 Garside Avenue, Wayne
                                                                    NJ
                                                                          Value $                           475,000.00                         225,819.00          194,511.00
Account No.




                                                                          Value $
Account No.




                                                                          Value $
                                                                                                                           Subtotal
 0
_____ continuation sheets attached                                                                                                             669,511.00
                                                                                                                  (Total of this page)
                                                                                                                              Total            669,511.00
                                                                                                    (Report on Summary of Schedules)

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               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                    Desc Main
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Form B6E
(10/05)


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  In re          Joseph C. Esposito,                                                                                     Case No.   05-60007-NLW
                 Lauraine Esposito
                                                                                                                    ,
                                                                                                 Debtors
                      SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
     the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See
     11 U.S.C.§112; Fed.R.Bankr.P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
     entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of
     them or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
     Community". If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
     labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one
     of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
     Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all
     amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. If applicable, also
     report this total on the Means Test form.

           Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
         Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
     11 U.S.C. § 507(a)(1).
         Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
     of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
         Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
     the cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(4).
        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
           Certain farmers and fishermen
           Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
        Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).
           Taxes and certain other debts owed to governmental units
           Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).
         Commitments to maintain the capital of an insured depository institution
         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
        Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

    *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
    adjustment.

                                                                                      0   continuation sheets attached
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                Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                            Desc Main
                                                                             Document      Page 13 of 47
 Form B6F
 (10/05)


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   In re          Joseph C. Esposito,                                                                                       Case No.    05-60007-NLW
                  Lauraine Esposito
                                                                                                                        ,
                                                                                                      Debtors

                 SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate
 that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C.§112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
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                                                                               T   J                                                       N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                   R
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                                                                                                                                           N   A
Account No. 5291-1518-0498                                                             2003                                                T   T
                                                                                                                                               E
                                                                                       -                                                       D

Capital One Bank
11013 W Broad Street                                                               J
Glen Allen, VA 23060

                                                                                                                                                                       2,725.00
Account No. 6032-59019287&6032590190515915                                             2002
                                                                                       -
Citfinancial Retail
PO Box 6080                                                                        J
Newark, DE 19714

                                                                                                                                                                       1,426.00
Account No. 6011-00167057&6011001670199704                                             -
                                                                                       -
Discover Bank
c/o Eichenbaum & Stylianou, LLC                                                    J
POB 914
Paramus, NJ 07653
                                                                                                                                                                       4,119.00
Account No. 7302-8506-0592                                                             2001
                                                                                       -
ExxonMobile
7840 Roswell Road                                                                  J
Atlanta, GA 30350

                                                                                                                                                                         330.00

                                                                                                                                         Subtotal
 2
_____ continuation sheets attached                                                                                                                                     8,600.00
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                Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                            Desc Main
                                                                             Document      Page 14 of 47
 Form B6F - Cont.
 (10/05)




   In re            Joseph C. Esposito,                                                                                     Case No.    05-60007-NLW
                    Lauraine Esposito
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
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Account No. 04-541                                                                     -                                                       E
                                                                                       medical services                                        D

Friedland, Noel, MD
c/o Raymond Meisenbacher & Sons,                                                   J
Esqs.
739 East Main Street
Bridgewater, NJ 08807                                                                                                                                               1,350.00
Account No. 4417-1228-1810                                                             1995
                                                                                       -
Fusa NA
900 N Market Street                                                                J
Wilmington, DE 19801

                                                                                                                                                                      100.00
Account No. 6018-5951-0092                                                             2001
                                                                                       -
Gap
GEMB/Gap                                                                           J
POB 981400
El Paso, TX 79998
                                                                                                                                                                      475.00
Account No. CG1K-0604-1497-139                                                         1995
                                                                                       -
Gemb/Fort
POB 103014                                                                         J
Roswell, GA 30076

                                                                                                                                                                      100.00
Account No. 0-090000-1246                                                              1995
                                                                                       -
HSBC/RS
POB 15524                                                                          J
Wilmington, DE 19850

                                                                                                                                                                      100.00

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Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                    2,125.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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                Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                                   Desc Main
                                                                             Document      Page 15 of 47
 Form B6F - Cont.
 (10/05)




   In re            Joseph C. Esposito,                                                                                           Case No.     05-60007-NLW
                    Lauraine Esposito
                                                                                                                         ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                           (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                             C   U   D
                      CREDITOR'S NAME,                                         O                                                                  O   N   I
                    AND MAILING ADDRESS                                        D   H                                                              N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                                  E   D   D
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Account No. 5070-3028-31120&335746411820                                               1993                                                           E
                                                                                       -                                                              D

Macy's/FDSB
9111 Duke Drive                                                                    J
Mason, OH 45040

                                                                                                                                                                             734.00
Account No. 6019-1703-1134-6164                                                        2002
                                                                                       -
PC Richards
POB 276                                                                            J
Mailcode OH3-425
Dayton, OH 45423
                                                                                                                                                                             424.00
Account No. -                                                                          -
                                                                                       -
Polan Electric Co.
8-39 Lake Street                                                                   J
Fair Lawn, NJ 07410

                                                                                                                                                                           3,335.00
Account No. 8060-5046-40943                                                            -
                                                                                       -
Sears
c/o Simm Associates , Inc.                                                         J
200 Biddle Avenue
Newark, DE 19702
                                                                                                                                                                             565.00
Account No.




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Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                           5,058.00
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)                 15,783.00


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                  Case 05-60007-NLW                           Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                   Desc Main
                                                                            Document      Page 16 of 47
Form B6G
(10/05)


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  In re             Joseph C. Esposito,                                                                            Case No.     05-60007-NLW
                    Lauraine Esposito
                                                                                                        ,
                                                                                        Debtors
                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                              State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                    State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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               Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46          Desc Main
                                                                            Document      Page 17 of 47
Form B6H
(10/05)


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  In re          Joseph C. Esposito,                                                                         Case No.   05-60007-NLW
                 Lauraine Esposito
                                                                                                     ,
                                                                                        Debtors
                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                   NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR

                   Frank Meyers                                                            Columbia Bank
                   105 Birch Road                                                          19-01 Route 208
                   Franklin Lakes , NJ                                                     Fair Lawn, NJ 07410
                     former business partner




       0       continuation sheets attached to Schedule of Codebtors

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             Case 05-60007-NLW                   Doc 16       Filed 12/01/05 Entered 12/01/05 22:34:46                                Desc Main
                                                            Document      Page 18 of 47

Form B6I
(10/05)


           Joseph C. Esposito
 In re     Lauraine Esposito                                                                              Case No.      05-60007-NLW
                                                                           Debtor(s)

                         SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                         RELATIONSHIP:                                                 AGE:
                                               Daughter                                                     12
       Married                                 Daughter                                                     16
                                               Daughter                                                     18
                                               Son                                                          4
 Employment:                                          DEBTOR                                                   SPOUSE
 Occupation                           contractor                                               painter
 Name of Employer                     self employed                                            Works at Husband's business
 How long employed                    20 years
 Address of Employer                  102 Garside Avenue                                       102 Garside Avenue
                                      Wayne, NJ 07470                                          Wayne, NJ 07470
 INCOME: (Estimate of average monthly income)                                                                    DEBTOR                    SPOUSE
 1. Current monthly gross wages, salary, and commissions (Prorate if not paid monthly.)                    $         3,500.00        $        1,477.00
 2. Estimate monthly overtime                                                                              $             0.00        $            0.00

 3. SUBTOTAL                                                                                               $         3,500.00        $        1,477.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                  $           980.00        $           222.00
     b. Insurance                                                                                          $             0.00        $             0.00
     c. Union dues                                                                                         $             0.00        $             0.00
     d. Other (Specify):                                                                                   $             0.00        $             0.00
                                                                                                           $             0.00        $             0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                         $           980.00        $           222.00

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                        $         2,520.00        $        1,255.00

 7. Regular income from operation of business or profession or farm. (Attach detailed statement)           $              0.00       $             0.00
 8. Income from real property                                                                              $              0.00       $             0.00
 9. Interest and dividends                                                                                 $              0.00       $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use
      or that of dependents listed above.                                                                  $              0.00       $             0.00
 11. Social security or other government assistance
 (Specify):                                                                                                $              0.00       $             0.00
                                                                                                           $              0.00       $             0.00
 12. Pension or retirement income                                                                          $              0.00       $             0.00
 13. Other monthly income
 (Specify):        Police pension (about to begin)                                                         $         4,000.00        $             0.00
                                                                                                           $             0.00        $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                        $         4,000.00        $             0.00

 15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                            $         6,520.00        $        1,255.00

                                                                                       7,775.00                  (Report also on Summary of
                                                                 $
 16. TOTAL COMBINED MONTHLY INCOME:                                                                                      Schedules)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this
 document:
             Case 05-60007-NLW            Doc 16      Filed 12/01/05 Entered 12/01/05 22:34:46                     Desc Main
                                                    Document      Page 19 of 47

Form B6J
(10/05)


           Joseph C. Esposito
 In re     Lauraine Esposito                                                                Case No.    05-60007-NLW
                                                                 Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                    $                2,679.00
 a. Are real estate taxes included?                           Yes               No X
 b. Is property insurance included?                           Yes               No X
2. Utilities:      a. Electricity and heating fuel                                                       $                  600.00
                   b. Water and sewer                                                                    $                   50.00
                   c. Telephone                                                                          $                  200.00
                   d. Other                                                                              $                    0.00
3. Home maintenance (repairs and upkeep)                                                                 $                    0.00
4. Food                                                                                                  $                1,500.00
5. Clothing                                                                                              $                  333.00
6. Laundry and dry cleaning                                                                              $                    0.00
7. Medical and dental expenses                                                                           $                    0.00
8. Transportation (not including car payments)                                                           $                  400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                      $                    0.00
10. Charitable contributions                                                                             $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                            $                    0.00
                   b. Life                                                                               $                    0.00
                   c. Health                                                                             $                    0.00
                   d. Auto                                                                               $                  500.00
                   e. Other                                                                              $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                (Specify)                                                                                $                    0.00
13. Installment payments: (In chapter 11, 12 and 13 cases, do not list payments to be included in the
plan.)
                   a. Auto                                                                               $                    0.00
                   b. Other                                                                              $                    0.00
                   c. Other                                                                              $                    0.00
                   d. Other                                                                              $                    0.00
14. Alimony, maintenance, and support paid to others                                                     $                    0.00
15. Payments for support of additional dependents not living at your home                                $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)         $                    0.00
17. Other real estate taxes                                                                              $                  916.00
    Other                                                                                                $                    0.00

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                         $                7,178.00
19. Describe any increase or decrease in expenditures anticipated to occur within the year following
the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Total monthly income from Line 16 of Schedule I                                                       $                7,775.00
b. Total monthly expenses from Line 18 above                                                             $                7,178.00
c. Monthly net income (a. minus b.)                                                                      $                  597.00
                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                  Desc Main
                                                                              Document      Page 20 of 47




Official Form 6-Decl.
(10/05)

                                                                   United States Bankruptcy Court
                                                                                 District of New Jersey
             Joseph C. Esposito
  In re      Lauraine Esposito                                                                                        Case No.   05-60007-NLW
                                                                                             Debtor(s)                Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                 16 sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date December 1, 2005                                                          Signature    /s/ Joseph C. Esposito
                                                                                             Joseph C. Esposito
                                                                                             Debtor


 Date December 1, 2005                                                          Signature    /s/ Lauraine Esposito
                                                                                             Lauraine Esposito
                                                                                             Joint Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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                   Case 05-60007-NLW                            Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                   Desc Main
                                                                              Document      Page 21 of 47


Official Form 7
(10/05)


                                                                   United States Bankruptcy Court
                                                                                 District of New Jersey
             Joseph C. Esposito
  In re      Lauraine Esposito                                                                                  Case No.      05-60007-NLW
                                                                                              Debtor(s)         Chapter       13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor.
11 U.S.C. § 101.

                                                                __________________________________________

                  1. Income from employment or operation of business
    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o            business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
                  for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
                  joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE
                           $81,377.00                                Husband: employment earnings 2003
                           $94,000.00                                Husband : Employment earnings 2004
                           $17,725.00                                Wife: Employment earnings 2003
                           $17,725.00                                Wife : Employent earnings 2004




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                Desc Main
                                                                              Document      Page 22 of 47


                                                                                                                                                              2

                2. Income other than from employment or operation of business
    None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     o          during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE
                           $22,000.00                                profit from sale of 926 East 23d Street , Paterson, NJ in 2004

                3. Payments to creditors
    None        Complete a. or b., as appropriate, and c.
     n
                a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or
                services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate
                value of all property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were
                made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
                approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
                payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS                                                                  DATES OF                                            AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                          AMOUNT PAID         OWING

    None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
     n          immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
                transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                        AMOUNT
                                                                                   DATES OF                              PAID OR
                                                                                   PAYMENTS/                           VALUE OF        AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                          TRANSFERS          OWING

    None        c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
     n          of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                   AMOUNT PAID         OWING

                4. Suits and administrative proceedings, executions, garnishments and attachments
    None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
     o          of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY             STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                DISPOSITION
 Discover Bank v.                                collection                                  Superior Court of NJ        Judgment entered
 Esposito                                                                                    Passaic County
 Docket No: DC-010810-04                                                                     Paterson, NJ
 Champion Mortgage v.                            Foreclosure                                 Superior Court of NJ;       Judgment entered
 Esposito                                                                                    Paterson , NJ
 Docket No: F-4115-05
 Polan Electric Company v.                       Collection                                  Superior Court of NJ;       Judgment entered
 Joe Esposito                                                                                Paterson , NJ
 Superior Court of NJ
 Docket No: T-S377-05




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                 Desc Main
                                                                              Document      Page 23 of 47


                                                                                                                                                              3

    None        b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n          preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

                5. Repossessions, foreclosures and returns
    None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n          returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                the spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

                6. Assignments and receiverships
    None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n          this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
                a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n          preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

                7. Gifts
    None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     n          and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

                8. Losses
    None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     o          since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                         BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS
 Damage to home by heavy machine operator                                         paid by homeowners insurance : $12,000. which   December 2004
                                                                                  was used to repair home




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                  Desc Main
                                                                              Document      Page 24 of 47


                                                                                                                                                              4

                9. Payments related to debt counseling or bankruptcy
    None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     o          concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
                immediately preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                          THAN DEBTOR                            OF PROPERTY
 Thomas E. Shields III                                                            October , 2005                       2000.
 755 Berdan Ave
 Wayne, NJ 07470-2028

                10. Other transfers
    None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
     n          transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
     n          trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

                11. Closed financial accounts
    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     o          otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
                must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
                filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                    OR CLOSING
 Columbia Bank                                                                                                          0 balance Closed :
 Wayne, NJ                                                                                                              December 2004
 Commerce Bank                                                                    closed by levy on account by Polan    August 2005
 Wayne, NJ                                                                        Electric for $2478.

                12. Safe deposit boxes
    None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n          immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                       DESCRIPTION           DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                       OF CONTENTS            SURRENDER, IF ANY




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46               Desc Main
                                                                              Document      Page 25 of 47


                                                                                                                                                            5

                13. Setoffs
    None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n          commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                      AMOUNT OF SETOFF

                14. Property held for another person
    None        List all property owned by another person that the debtor holds or controls.
     n
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                     LOCATION OF PROPERTY

                15. Prior address of debtor
    None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
     n          occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                address of either spouse.

 ADDRESS                                                                          NAME USED                           DATES OF OCCUPANCY

                16. Spouses and Former Spouses
    None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
     n          Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
                the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
                debtor in the community property state.

 NAME

                17. Environmental Information.

                For the purpose of this question, the following definitions apply:

                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
                to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
     n          liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
                if known, the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                 LAW

    None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n          Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                 LAW




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                  Desc Main
                                                                              Document      Page 26 of 47


                                                                                                                                                              6

    None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n          the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

                18 . Nature, location and name of business
    None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
     n          and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
                partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
                six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
                equity securities within six years immediately preceding the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
                six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
                six years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                            BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                    NATURE OF BUSINESS            ENDING DATES

    None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                19. Books, records and financial statements
    None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
     n          supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
     n          books of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
     n          records of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                         ADDRESS




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                   Desc Main
                                                                              Document      Page 27 of 47


                                                                                                                                                               7

    None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
     n          was issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

                20. Inventories
    None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     n          and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None        b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     n
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Officers, Directors and Shareholders
    None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     n          controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

                22 . Former partners, officers, directors and shareholders
    None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     n          commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     n          immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

                23 . Withdrawals from a partnership or distributions by a corporation
    None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
     n          compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
                preceding the commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

                24. Tax Consolidation Group.
    None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     n          group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                           Desc Main
                                                                              Document      Page 28 of 47


                                                                                                                                                                        8

                25. Pension Funds.
    None        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as
     n          an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date December 1, 2005                                                          Signature    /s/ Joseph C. Esposito
                                                                                             Joseph C. Esposito
                                                                                             Debtor


 Date December 1, 2005                                                          Signature    /s/ Lauraine Esposito
                                                                                             Lauraine Esposito
                                                                                             Joint Debtor
                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                              Document      Page 29 of 47

                                                                   United States Bankruptcy Court
                                                                                 District of New Jersey
              Joseph C. Esposito
  In re       Lauraine Esposito                                                                                        Case No.   05-60007-NLW
                                                                                             Debtor(s)                 Chapter    13


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                          $               2,000.00
              Prior to the filing of this statement I have received                                                $               2,000.00
              Balance Due                                                                                          $                  0.00

2.     The source of the compensation paid to me was:
              n    Debtor             o Other (specify):

3.     The source of compensation to be paid to me is:
              n    Debtor             o Other (specify):

4.        n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
              firm.

          o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions
               or any other adversary proceeding.
                                                                                     CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       December 1, 2005                                                               /s/ Thomas E. Shields III
                                                                                             Thomas E. Shields III TS-2505
                                                                                             Thomas E. Shields III
                                                                                             755 Berdan Ave
                                                                                             Wayne, NJ 07470-2028
                                                                                             973-694-7100
                                                                                             tshie31860@aol.com




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                                                                              Document      Page 30 of 47

                                                           UNITED STATES BANKRUPTCY COURT
                                                                   District of New Jersey
                     Joseph C. Esposito
  IN RE:             Lauraine Esposito                                                             CASE NO.:                 05-60007-NLW
                                                                          (Debtor)                 JUDGE:
                                                                                                   CHAPTER:                        13




                                                                 CHAPTER 13 PLAN AND MOTIONS
     X       Original                                             Modified/Notice Required                     Modified/No Notice Required

Date:

                                            THE DEBTOR HAS FILED FOR RELIEF UNDER CHAPTER 13
                                                       OF THE BANKRUPTCY CODE.

                                                               YOUR RIGHTS WILL BE AFFECTED.

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date
of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor
to adjust debts. You should read these papers carefully and discuss them with your attorney. Anyone who wishes to
oppose any provision of this Plan or any motion included in it must file a written objection within the time frame stated in
the Notice. This Plan may be confirmed and become binding, and included motions may be granted without further
notice or hearing, unless written objection is filed before the deadline stated in the Notice.

                           YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                            IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                         THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

1.           PAYMENT AND LENGTH OF PLAN

             a. The Debtor shall pay $597.00 Monthly for 60 months to the Chapter 13 Trustee, starting on November 2005
             for approximately 60 months.

             b. The Debtor shall make plan payments to the Trustee from the following sources:

                 X        Future Earnings

                          Other sources of funding (describe source, amount and date when funds are available)


                          Sale or refinance of the following assets on or before

2.           PRIORITY CLAIMS (INCLUDING ADMINISTRATIVE EXPENSES)

             All allowed priority claims will be paid in full unless the creditor agrees otherwise:
 Creditor                                                                       Type of Priority                                        Amount to be Paid
 -NONE-




                                                                                                                                           Last revised 2/20/04
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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                        Desc Main
                                                                              Document      Page 31 of 47


3.           SECURED CLAIMS

             a. Curing Default and Maintaining Payments

        The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
the Debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:
                                                                                                                Interest                         Regular Monthly
                                                                                                                Rate on Amount to be Paid       Payment (Outside
 Creditor                                      Collateral or Type of Debt                         Arrearage   Arrearage to Creditor (In Plan)              Plan)
 -NONE-

             b. Modification

                  1.) The Debtor values collateral as indicated below. If the claim may be modified under Section
1322(b)(2), the secured creditor shall be paid the amount listed as the "Value of the Creditor Interest in Collateral," plus
interest as stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a
secured claim is identified as having "NO VALUE" it shall be treated as an unsecured claim.
                                                                                                                            Value of
                                                                                                   Total                    Creditor      Annual
                                                                            Scheduled          Collateral                  Interest in    Interest Total Amount
 Creditor                          Collateral                                    Debt              Value Superior Liens    Collateral        Rate to Be Paid
 Columbia Bank                                                            225,819.00         475,000.00            first   31,308.00         0.00 31,308.00
                                   Location: 102                                                            mortgage
                                   Garside Avenue,                                                         Champion
                                   Wayne NJ                                                               Mortgage -
                                                                                                           443,692.00

                2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.

             c. Surrender

         Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following
collateral:
 Creditor                                                   Collateral to be Surrendered                         Value of Surrendered       Remaining Unsecured
                                                                                                                            Collateral                     Debt
 -NONE-

             d. Secured Claims Unaffected by the Plan

             The following secured claims are unaffected by the Plan:
                Creditor
                Champion Mortgage

4.           UNSECURED CLAIMS

             a. Not separately classified Allowed non-priority unsecured claims shall be paid:

                          Not less than $                  to be distributed pro rata

                          Not less than                percent

                 X        Pro rata distribution from any remaining funds




                                                                                                                                                   Last revised 2/20/04
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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                    Desc Main
                                                                              Document      Page 32 of 47


             b. Separately Classified Unsecured Claims shall be treated as follows:
 Creditor                                                   Basis for Separate Classification          Treatment                           Amount to be Paid
 -NONE-

5.           EXECUTORY CONTRACTS AND UNEXPIRED LEASES

All executory contracts and unexpired leases are rejected, except the following, which are assumed:
 Creditor                                                   Nature of Contract or Lease                Treatment by Debtor
 -NONE-

6.           MOTIONS

                                                   NOTE: All Plans including motions must be served
                                                   separately in accordance with D.N.J. LBR 3015-1
        a. Motion to Avoid Liens under 11 U.S.C. Section 522(f). The Debtor moves to avoid the following liens that
impair exemptions:
                                                                                                                                 Sum of All
                                                                                                                Amount of       Other Liens
                           Nature of                                                             Value of         Claimed       Against the Amount of Lien
 Creditor                  Collateral                 Type of Lien            Amount of Lien    Collateral      Exemption          Property  to be Avoided
 -NONE-

         b. Motion to Void Liens and Reclassify Claim from Secured to Completely Unsecured. The Debtor moves to
reclassify the following claims as unsecured and to void liens on collateral consistent with Part 3 above:
 Creditor                                                          Collateral                                                Amount of Lien to be Reclassified
 -NONE-

         c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 3 above:
                                                                                                             Amount to be Deemed        Amount of Lien to be
 Creditor                                                   Collateral                                                    Secured   Reclassified as Unsecured
 Columbia Bank                                                                                                         31,308.00                  194,511.00
                                                            Location: 102 Garside Avenue,
                                                            Wayne NJ

7.           OTHER PLAN PROVISIONS

             a. Vesting of Property of the Estate Property of the Estate shall revest in the Debtor:

                              X        Upon Confirmation

                                       Upon Discharge

         b. Payment Notices Creditors and Lessors provided for in Sections 3, 5 or 6 may continue to mail customary
notices or coupons to the Debtor notwithstanding the automatic stay.




                                                                                                                                                Last revised 2/20/04
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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46     Desc Main
                                                                              Document      Page 33 of 47


             c. Order of Distribution The Trustee shall pay allowed claims in the following order:

                           1)           Trustee Commissions

                           2)           Other Administrative Claims

                           3)           Secured Claims

                           4)           Lease Arrearages

                           5)           Priority Claims

                           6)           General Unsecured Claims

       d. Post-petition claims The Trustee          is X is not authorized to pay post-petition claims filed pursuant to
11 U.S.C. Section 1305(a) in the amount filed by the post-petition claimant.

 Date December 1, 2005                                                                       /s/ Thomas E. Shields III
                                                                                             Thomas E. Shields III TS-2505
                                                                                             Attorney for the Debtor

        I hereby certify that the factual statements included in this plan are true. I am aware that if any of the factual
statements made by me are willfully false, I am subject to punishment.
 Date December 1, 2005                                                          Signature       /s/ Joseph C. Esposito
                                                                                                Joseph C. Esposito
                                                                                                Debtor


 Date December 1, 2005                                                          Signature       /s/ Lauraine Esposito
                                                                                                Lauraine Esposito
                                                                                                Joint Debtor




                                                                                                                               Last revised 2/20/04
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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46   Desc Main
                                                                              Document      Page 34 of 47

B 201 (10/05)

                                                          UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF NEW JERSEY

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE

                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
             all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
             not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
             you decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($220 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $274)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some
cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the
court to decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does,
the purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or
from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($150 filing fee, $39
administrative fee: Total fee $189)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in
the Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured

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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46               Desc Main
                                                                              Document      Page 35 of 47

B 201 (10/05)

obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Thomas E. Shields III TS-2505                                                               X /s/ Thomas E. Shields III            December 1, 2005
Printed Name of Attorney                                                                       Signature of Attorney                Date
Address:
755 Berdan Ave
Wayne, NJ 07470-2028
973-694-7100

                                                                                 Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Joseph C. Esposito
 Lauraine Esposito                                                                           X /s/ Joseph C. Esposito               December 1, 2005
 Printed Name of Debtor                                                                        Signature of Debtor                  Date

 Case No. (if known) 05-60007-NLW                                                            X /s/ Lauraine Esposito                December 1, 2005
                                                                                               Signature of Joint Debtor (if any)   Date




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46      Desc Main
                                                                              Document      Page 36 of 47




                                                                   United States Bankruptcy Court
                                                                                 District of New Jersey
             Joseph C. Esposito
  In re      Lauraine Esposito                                                                            Case No.   05-60007-NLW
                                                                                             Debtor(s)    Chapter    13




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: December 1, 2005                                                         /s/ Joseph C. Esposito
                                                                                Joseph C. Esposito
                                                                                Signature of Debtor

 Date: December 1, 2005                                                         /s/ Lauraine Esposito
                                                                                Lauraine Esposito
                                                                                Signature of Debtor




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    Case 05-60007-NLW   Doc 16     Filed 12/01/05 Entered 12/01/05 22:34:46   Desc Main
                                 Document      Page 37 of 47


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                        Capital One Bank
                        11013 W Broad Street
                        Glen Allen, VA 23060


                        CBUSA Sears
                        8725 W Sahara Ave
                        The Lakes, NV 89163


                        Champion Mortgage
                        c/o Fein, Such, Kahn & Shepard, PC
                        7 Century Drive , Ste 201
                        Parsippany, NJ 07054


                        Citfinancial Retail
                        PO Box 6080
                        Newark, DE 19714


                        Columbia Bank
                        19-01 Route 208
                        Fair Lawn, NJ 07410


                        Court Officer Ralph Trionfo
                        Superior Court of NJ
                        71 Hamilton Street
                        Paterson, NJ 07505


                        Discover Bank
                        c/o Eichenbaum & Stylianou, LLC
                        POB 914
                        Paramus, NJ 07653


                        Discover CD
                        POB15316
                        Wilmington, DE 19850


                        ExxonMobile
                        7840 Roswell Road
                        Atlanta, GA 30350


                        Friedland, Noel, MD
                        c/o Raymond Meisenbacher & Sons, Esqs.
                        739 East Main Street
                        Bridgewater, NJ 08807
Case 05-60007-NLW   Doc 16     Filed 12/01/05 Entered 12/01/05 22:34:46   Desc Main
                             Document      Page 38 of 47



                    Fusa NA
                    900 N Market Street
                    Wilmington, DE 19801


                    Gap
                    GEMB/Gap
                    POB 981400
                    El Paso, TX 79998


                    Gemb/Fort
                    POB 103014
                    Roswell, GA 30076


                    HSBC/RS
                    POB 15524
                    Wilmington, DE 19850


                    Macy's/FDSB
                    9111 Duke Drive
                    Mason, OH 45040


                    PC Richards
                    POB 276
                    Mailcode OH3-425
                    Dayton, OH 45423


                    Polan Electric Co.
                    8-39 Lake Street
                    Fair Lawn, NJ 07410


                    Sears
                    c/o Simm Associates , Inc.
                    200 Biddle Avenue
                    Newark, DE 19702


                    Sherman Acquisition
                    POB 740281
                    Houston, TX 77274
                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                     Desc Main
                                                                              Document      Page 39 of 47

Form B 21 Official Form 21
(12/03)

                                                 FORM 21. STATEMENT OF SOCIAL SECURITY NUMBER

                                                                   United States Bankruptcy Court
                                                                                 District of New Jersey

             Joseph C. Esposito
  In re      Lauraine Esposito
                                                                                             Debtor
                                                                                                                         Case No.   05-60007-NLW
                  102 Garside Avenue
  Address         Wayne, NJ 07470                                                                                         Chapter   13
  Employer's Tax Identification (EIN) No(s). [if any]:
  Last four digits of Social Security No(s).:  xxx-xx-2629 & xxx-xx-1179


                                                          STATEMENT OF SOCIAL SECURITY NUMBER(S)

1. Name of Debtor (enter Last, First, Middle): Esposito, Joseph, C.
(Check the appropriate box and, if applicable, provide the required information.)

                          / X /Debtor has a Social Security Number and it is: XXX-XX-XXXX
                                            (If more than one, state all.)

                          / /Debtor does not have a Social Security Number.

2. Name of Joint Debtor (enter Last, First, Middle): Esposito, Lauraine
(Check the appropriate box and, if applicable, provide the required information.)

                          / X /Joint Debtor has a Social Security Number and it is: XXX-XX-XXXX
                                            (If more than one, state all.)

                          / /Joint Debtor does not have a Social Security Number.

I declare under penalty of perjury that the foregoing is true and correct.

                                   X      /s/ Joseph C. Esposito                                      December 1, 2005
                                          Joseph C. Esposito                                          Date
                                          Signature of Debtor

                                   X      /s/ Lauraine Esposito                                       December 1, 2005
                                          Lauraine Esposito                                           Date
                                          Signature of Joint Debtor




*Joint debtors must provide information for both spouses.
Penalty for making a false statement: Fine of up to $250,000 or up to 5 years imprisonment or both. 18 U.S.C. §§ 152 and 3571.
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                    Case 05-60007-NLW                           Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                          Desc Main
                                                                              Document      Page 40 of 47

Form B22C (Chapter 13) (10/05)

            Joseph C. Esposito                                                                According to the calculations required by this statement:
 In re      Lauraine Esposito                                                     n The applicable commitment period is 3 years.
                         Debtor(s)
                                                                                  o The applicable commitment period is 5 years.
 Case Number:            05-60007-NLW
                                   (If known)                                     o Disposable income is determined under § 1325(b)(3).
                                                                                  n Disposable income is not determined under § 1325(b)(3).
                                                                                  (Check the box as directed in Lines 17 and 23 of this statement.)


                     STATEMENT OF CURRENT MONTHLY INCOME
          AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                           FOR USE IN CHAPTER 13
In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                                                    Part I. REPORT OF INCOME
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1        a.   o Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
              b.    nMarried. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
              All figures must reflect average monthly income for the six calendar months prior to filing the
                                                                                                                Column A                               Column B
              bankruptcy case, ending on the last day of the month before the filing. If you received different
              amounts of income during these six months, you must total the amounts received during the six     Debtor's                                Spouse's
              months, divide this total by six, and enter the result on the appropriate line.                    Income                                  Income

     2        Gross wages, salary, tips, bonuses, overtime, commissions.                                                       $      3,500.00    $          1,477.00
              Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
              enter the difference on Line 3. Do not enter a number less than zero. Do not include any part of
              the business expenses entered on Line b as a deduction in Part IV.
     3                                                                     Debtor               Spouse
               a.     Gross receipts                              $                0.00 $                0.00
               b.       Ordinary and necessary business expenses                   $               0.00   $             0.00
               c.       Business income                                            Subtract Line b from Line a                 $           0.00   $                0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference on
              Line 4. Do not enter a number less than zero. Do not include any part of the business
              expenses entered on Line b as a deduction in Part IV.
     4                                                                  Debtor                Spouse
               a.    Gross receipts                               $             0.00 $                  0.00
               b.       Ordinary and necessary operating expenses                   $              0.00   $             0.00
               c.       Rental income                                               Subtract Line b from Line a                $           0.00   $                0.00
     5        Interest, dividends, and royalties.                                                                              $           0.00   $                0.00
     6        Pension and retirement income.                                                                                   $           0.00   $                0.00
              Regular contributions to the household expenses of the debtor or the debtor's
     7        dependents, including child or spousal support. Do not include contributions from the debtor's
              spouse if Column B is completed.                                                                                 $           0.00   $                0.00
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A or B,
     8        but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act                Debtor $              0.00   Spouse $          0.00   $           0.00   $                0.00
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Total and enter on Line 9. Do not include any benefits received under the
              Social Security Act or payments received as a victim of a war crime, crime against humanity, or as a
     9        victim of international or domestic terrorism.
                                                                         Debtor                   Spouse
               a.                                               $                        $
               b.                                               $                        $                                     $           0.00   $                0.00
     10
              Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9 in
              Column B. Enter the total(s).                                                                                    $      3,500.00    $          1,477.00
     11
              Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter the
              total. If Column B has not been completed, enter the amount from Line 10, Column A.                              $                            4,977.00




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                     Desc Main
                                                                              Document      Page 41 of 47

Form B22C (Chapter 13) (10/05)



                           Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
     12       Enter the amount from Line 11                                                                                              $           4,977.00
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
              calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
     13
              enter the amount of the income listed in Line 10, Column B that was NOT regularly contributed to the household
              expenses of you or your dependents. Otherwise, enter zero.
                                                                                                                                         $                 0.00
     14       Subtract Line 13 from Line 12 and enter the result.
                                                                                                                                         $           4,977.00
              Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
     15
              12 and enter the result.
                                                                                                                                         $         59,724.00
              Applicable median family income. Enter the median family income for applicable state and household size.
              (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
     16

               a. Enter debtor's state of residence:                        NJ               b. Enter debtor's household size:   6       $       101,001.00
              Application of § 1325(b)(4). Check the applicable box and proceed as directed.

              n The amount on Line 15 is less than the amount on Line 16.                        Check the box for "The applicable commitment period is 3
     17            years" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts III, IV, V or VI.

              o The amount on Line 15 is not less than the amount on Line 16.                          Check the box for "The applicable commitment period is
                   5 years" at the top of page 1 of this statement and continue with Part III of this statement.

     Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
     18       Enter the amount from Line 11.                                                                                             $
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the
     19       income listed in Line 10, Column B that was NOT regularly contributed to the household expenses of you or your
              dependents. If you are unmarried or married and filing jointly with your spouse, enter zero.
                                                                                                                                         $
     20       Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.
                                                                                                                                         $
              Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
     21
              12 and enter the result.
                                                                                                                                         $
     22       Applicable median family income. Enter the amount from Line 16.
                                                                                                                                         $
              Application of § 1325(b)(3). Check the applicable box and proceed as directed.

              o The amount on Line 21 is more than the amount on Line 22.                      Check the box for "Disposable income is determined under §
     23            1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.

              o The amount on Line 21 is less than the amount on Line 22.                      Check the box for "Disposable income is not determined under
                   § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.



                  Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                         Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing, household supplies, personal care, and miscellaneous.
     24       Enter the "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family size and
              income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)             $
              Local Standards: housing and utilities; non-mortgage expenses. Enter amount of the IRS Housing
    25A       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                $




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                    Case 05-60007-NLW                           Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                   Desc Main
                                                                              Document      Page 42 of 47

Form B22C (Chapter 13) (10/05)

              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
              of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the
    25B       result in Line 25B. Do not enter an amount less than zero.
               a.      IRS Housing and Utilities Standards; mortgage/rental Expense              $
               b.      Average Monthly Payment for any debts secured by your home,
                       if any, as stated in Line 47                                              $
               c.      Net mortgage/rental expense                                               Subtract Line b from Line a.          $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
              and 25B does not accurately compute the allowance to which you are entitled under th IRS Housing and Utilities
     26       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your contention
              in the space below:
                                                                                                                                       $
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 7.
     27
              o 0 o 1 o 2 or more.
              Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
              number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                           $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles
              for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
              vehicles.)
              o 1 o 2 or more.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
     28       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter the result in
              Line 28. Do not enter an amount less than zero.
               a.      IRS Transportation Standards, Ownership Costs, First Car              $
                       Average Monthly Payment for any debts secured by Vehicle 1,
               b.      as stated in Line 47                                                  $
               c.      Net ownership/lease expense for Vehicle 1                             Subtract Line b from Line a.              $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
              checked the "2 or more" Box in Line 28.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter the result in
     29
              Line 29. Do not enter an amount less than zero.
               a.      IRS Transportation Standards, Ownership Costs, Second Car             $
                       Average Monthly Payment for any debts secured by Vehicle 2,
               b.      as stated in Line 47                                                  $
               c.      Net ownership/lease expense for Vehicle 2                             Subtract Line b from Line a.              $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
     30       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
              social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                    $
              Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
     31       deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
              uniform costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                         $




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                    Case 05-60007-NLW                           Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                     Desc Main
                                                                              Document      Page 43 of 47

Form B22C (Chapter 13) (10/05)


              Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term
     32       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
              any other form of insurance.                                                                                               $
              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
     33       required to pay pursuant to court order, such as spousal or child support payments. Do not include payments on
              past due support obligations included in line 49.                                                                          $
              Other Necessary Expenses: education for employment or for a physically or mentally
     34       challenged child. Enter the total monthly amount that you actually expend for education that is a condition of
              employment and for education that is required for a physically or mentally challenged dependent child for whom no
              public education providing similar services is available.                                                                  $

     35
              Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
              childcare. Do not include payments made for children's education.                                                          $
              Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
     36       health care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include
              payments for health insurance listed in Line 39.                                                                           $
              Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that you
              actually pay for cell phones, pagers, call waiting, caller identification, special long distance, or internet services
     37
              necessary for the health and welfare or you or your dependents. Do not include any amount previously
              deducted.                                                                                                                  $
     38       Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                        $

                                            Subpart B: Additional Expense Deductions under § 707(b)
                                 Note: Do not include any expenses that you have listed in Lines 24-37
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the average
              monthly amounts that you actually expend in each of the following categories and enter the total.

               a.          Health Insurance                                                    $
     39
               b.          Disability Insurance                                                $
               c.          Health Savings Account                                              $
                                                                                             Total: Add Lines a, b, and c                $
              Continued contributions to the care of household or family members. Enter the actual monthly
              expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill,
     40
              or disabled member of your household or member of your immediate family who is unable to pay for such expenses.
              Do not include payments listed in Line 34.                                                                                 $
              Protection against family violence. Enter any average monthly expenses that you actually incurred to
     41       maintain the safety of your family under the Family Violence Prevention and Services Act or other applicable federal
              law.                                                                                                                       $
              Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter the
              average monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for
     42
              Housing and Utilities. You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                     $
              Education expenses for dependent children less than 18. Enter the average monthly expenses that you
              actually incur, not to exceed $125 per child, in providing elementary and secondary education for your dependent
     43       children less than 18 years of age. You must provide your case trustee with documentation demonstrating
              that the additional amount claimed is reasonable and necessary and not already acconted for in the IRS
              Standards.                                                                                                                 $
              Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
     44       percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.) You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                     $

     45
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash
              or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                             $
     46       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                                $




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                    Case 05-60007-NLW                           Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                              Desc Main
                                                                              Document      Page 44 of 47

Form B22C (Chapter 13) (10/05)


                                                             Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that
              you own, list the name of creditor, identify the property securing the debt, and state the Average Monthly Payment.
     47       The Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months
              following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and
              insurance required by the mortgage. If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt                      60-month Average Payment
                 a.                                                                                            $
                                                                                                                               Total: Add Lines   $

              Past due payments on secured claims. If any of the debts listed in Line 47 are in default, and the property
              securing the debt is necessary for your support or the support of your dependents, you may include in your deductions
     48       1/60th of the amount that you must pay the creditor as a result of the default (the "cure amount") in order to maintain
              possession of the property. List any such amounts in the following chart and enter the total. If necessary, list
              additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt in Default            1/60th of the Cure Amount
                 a.                                                                                            $
                                                                                                                               Total: Add Lines   $

     49
              Payments on priority claims. Enter the total amount of all priority claims (including priority child support and
              alimony claims), divided by 60.                                                                                                     $
              Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
              resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                                $
     50        b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                                            x
               c.        Average monthly administrative expense of Chapter 13 case                         Total: Multiply Lines a and b          $
     51       Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                          $

                                              Subpart D: Total Deductions Allowed under § 707(b)(2)
     52       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46, and 51.                                         $



                               Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
     53       Total current monthly income. Enter the amount from Line 20.                                                                        $
              Support income. Enter the monthly average of any child support payments, foster care payments, or disability
     54       payments for a dependent child, included in Line 7, that you received in accordance with applicable nonbankruptcy
              law, to the extent reasonably necessary to be expended for such child.                                                              $
              Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions made
     55       to qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from retirement plans, as
              specified in § 362(b)(19).                                                                                                          $
     56       Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                                   $

     57
              Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, and 56 and enter
              the result.                                                                                                                         $
     58       Monthly Disposable Income Under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.                                   $




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                 Case 05-60007-NLW                              Doc 16          Filed 12/01/05 Entered 12/01/05 22:34:46                                 Desc Main
                                                                              Document      Page 45 of 47

Form B22C (Chapter 13) (10/05)


                                                             Part VI. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under §
              707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
              each item. Total the expenses.

     59                Expense Description                                                                                       Monthly Amount
               a.                                                                                                  $
               b.                                                                                                  $
               c.                                                                                                  $
               d.                                                                                                  $
                                                                             Total: Add Lines a, b, c and d        $



                                                                            Part VII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                             Date:    December 1, 2005                                      Signature: /s/ Joseph C. Esposito
                                                                                                                       Joseph C. Esposito
     60                                                                                                                         (Debtor)

                                 Date:       December 1, 2005                                          Signature       /s/ Lauraine Esposito
                                                                                                                        Lauraine Esposito
                                                                                                                                (Joint Debtor, if any)




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Case 05-60007-NLW   Doc 16     Filed 12/01/05 Entered 12/01/05 22:34:46   Desc Main
                             Document      Page 46 of 47
Case 05-60007-NLW   Doc 16     Filed 12/01/05 Entered 12/01/05 22:34:46   Desc Main
                             Document      Page 47 of 47
